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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

  EARL PARRIS, JR., individually, )
  and on behalf of a Class of persons )
  similarly situated,                 )
                                      )
         Plaintiff, and               ) Civil Action No. 4:21-cv-00040-TWT
                                      )
  CITY OF SUMMERVILLE, GA., )
                                      )
         Intervenor Plaintiff,        )
                                      )
  vs.                                 )
                                      )
  3M COMPANY, et al.,                 )
                                      )
         Defendants.                  )

   INITIAL DISCLOSURES OF DEFENDANT MOUNT VERNON MILLS

        Pursuant to Federal Rule of Civil Procedure 26(a)(1) and Local Rule 26.1,

Defendant Mount Vernon Mills, Inc. (“Mount Vernon”) hereby makes the following

initial disclosures.

        These disclosures are based on information presently known and reasonably

available to Mount Vernon. Mount Vernon’s assessment may be modified by

discovery in this action. Mount Vernon does not admit that any subject matter

identified with respect to any particular individual or category of documents is

relevant to this proceeding or will actually lead to the discovery of admissible


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evidence. Mount Vernon reserves the right to supplement, clarify, and revise these

disclosures to the extent additional information becomes available or is obtained

through discovery.

        These disclosures are made without any waiver of Mount Vernon’s right to

object on any grounds to any discovery request or proceeding involving or relating

to the subject matter of these disclosures, including without limitation the individuals

identified herein. Mount Vernon reserves the right to object to the admissibility

and/or production of any documents or other information on any ground, including

relevance, materiality, and undue burden, and to assert any applicable privilege,

including the attorney-client privilege, the work product doctrine, the common

interest doctrine, and any other applicable privilege, immunity, or protection.

        By providing these initial disclosures, Mount Vernon does not represent that

it is identifying every document, tangible thing, or witness possibly relevant to this

action, but only that reasonable and appropriate efforts have been made to locate and

identify documents and information. Each and every disclosure set forth below is

subject to the above qualifications and limitations.




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      (1) If the defendant is improperly identified, state defendant’s correct
identification and state whether defendant will accept service of an amended
summons and complaint reflecting the information furnished in this disclosure
response.

RESPONSE: Mount Vernon is properly identified.

      (2) Provide the names of any parties whom defendant contends are
necessary parties to this action, but who have not been named by plaintiff. If
defendant contends that there is a question of misjoinder of parties, provide the
reasons for defendant’s contention.

RESPONSE: Plaintiff has named Ryan Dejuan Jarrett as a defendant in this action;

however the Town of Trion used land application of biosolids on real property other

than that owned by Mr. Jarrett. During the discovery process Mount Vernon will

explore the possibility that entities, including but not limited to other manufacturers

of PFAS or others responsible for water discharge or treatment, may be necessary

parties to this litigation. Mount Vernon reserves all rights as to party joinder subject

to the Federal Rules of Civil Procedure, Local Rules of the Northern District of

Georgia, and common law.

     (3) Provide a detailed factual basis for the defense or defenses and any
counterclaims or crossclaims asserted by defendant in the responsive pleading.

        RESPONSE: Plaintiff Earl Parris, Jr. (“Plaintiff”) brings claims under the

Clean Water Act (“CWA”) and Resource Conservation and Recovery Act

(“RCRA”) as well as a putative class action and further alleges state-law claims of

nuisance and negligence. All of Plaintiff’s claims arise out of the alleged impact of
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a class of chemical known as PFAS (a family of over 4,500 compounds) upon

drinking water of the City of Summerville. Plaintiff alleges the Town of Trion’s

land application of biosolids resulting from the operation of the town’s wastewater

treatment operations caused him to incur economic costs. Plaintiff further alleges

that Mount Vernon is responsible for these damages because it allegedly discharged

some unspecified PFAS compound into wastewater.

        Intervenor City of Summerville (“Intervenor”) brings claims under the

Georgia Water Quality Control Act and for negligence, public and private nuisance,

trespass, injunctive relief, and punitive and compensatory damages against certain

of the defendants in this action alleging that Raccoon Creek, the primary source of

Intervenor’s drinking water was polluted with PFAS as a result of these defendants’

wrongful acts and omissions. Intervenor does not assert these claims against Mount

Vernon or codefendants Town of Trion, Georgia and Ryan Dejuan Jarrett

(“Jarrett”).1 See Complaint in Intervention, ¶ 11 [Dkt. No. 137].




        1
        Because Summerville does not assert claims against Mount Vernon in its
Intervenor Complaint, Mount Vernon maintains that no Initial Disclosures with
respect to that Intervenor Complaint are necessary and objects to any such
obligation. However, to the extent a response is deemed necessary, these Initial
Disclosures should be deemed to reference both Plaintiff’s Complaint and the
Intervenor Complaint.

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        Defendant Jarrett, along with his answers to Plaintiff’s Complaint and

Intervenor’s Complaint, asserts crossclaims against all other defendants for

contribution and indemnity to the extent Jarrett is found to have any liability in this

action.

        Mount Vernon currently asserts the following defenses, for which it will

develop additional evidentiary support through the discovery process:

              1. The First Amended Complaint fails to state a claim for the reasons

                 stated in Mount Vernon’s Motion to Dismiss and brief in support [Dkt.

                 No. 87, 87-1], which are incorporated herein by reference.

              2. Mount Vernon at all times acted in accordance with the discharge

                 permit issued to Mount Vernon by the City of Trion, and therefore

                 Plaintiff cannot show that Mount Vernon acted unlawfully.

              3. Further, Plaintiff cannot establish that Mount Vernon violated any

                 applicable local, state, or federal laws or regulations.

              4. Plaintiff failed to comply with the notice requirements of the Clean

                 Water Act (“CWA”), as Plaintiff’s pre-suit notice letter provided no

                 locations or dates of any alleged violations.




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              5. For the same reason, Plaintiff cannot show that Mount Vernon violated

                 the CWA, as Plaintiff cannot establish a violation of any applicable

                 effluent standard or limitation.

              6. Plaintiff cannot rely on local ordinances to support its CWA claim to

                 the extent those ordinances fail to meet federal and state procedural

                 notice requirements.

              7. Plaintiff cannot rely on local ordinances to support its CWA claim to

                 the extent those ordinances are unconstitutionally vague or fail to

                 provide due process.

              8. Plaintiff cannot rely on local ordinances, the Georgia Water Quality

                 Control Act (the “GWQCA”), or any other standards to support its

                 CWA claim to the extent they fail to provide fair notice as required by

                 due process.

              9. Plaintiff’s CWA claim is barred because Mount Vernon at all times met

                 the requirements of 40 C.F.R. § 403.5(a)(2).

              10. Plaintiff’s CWA claim and any derivative state regulatory claim is

                 barred by the permit shield doctrine because Mount Vernon had a valid

                 discharge permit issued by the Town of Trion with which Mount

                 Vernon always complied.


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              11. Plaintiff has no right of action to enforce the GWQCA against Mount

                 Vernon because Mount Vernon did not control the Town of Trion’s

                 land application of biosolids.

              12. O.C.G.A. § 12-5-29(a) is not a law, regulation, standard, or

                 requirement applicable to Mount Vernon and is not incorporated into

                 Mount Vernon’s industrial user permit.

              13. Plaintiff failed to comply with the notice requirements of the Resource

                 Conservation and Recovery Act (“RCRA”), as Plaintiff’s pre-suit

                 notice letter provided no locations or dates of any alleged violations.

              14. Plaintiff’s RCRA claim is barred by the doctrine of diligent

                 prosecution because Plaintiff failed to diligently prosecute same.

              15. Plaintiff’s RCRA claim is barred for lack of fair notice and due

                 process, as Plaintiff’s pre-suit notice letter provided no locations or

                 dates of any alleged violations.

              16. In addition to the foregoing, Mount Vernon is entitled, without

                 limitation, to all defenses allowed for by the Clean Water Act, the local

                 ordinances, the Georgia Water Quality Control Act, or RCRA.

              17. Plaintiff’s claims are barred as improper collateral attacks on the valid

                 discharge permit issued by the Town of Trion to Mount Vernon.


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              18. Plaintiff’s claims are barred in whole or in part by applicable statutes

                 of limitation or statutes of repose.

              19. Mount Vernon denies that Plaintiff has been harmed to the extent

                 alleged in the First Amended Complaint, as Plaintiff cannot show the

                 diminution in the value of his land that Plaintiff claims.

              20. To the extent Plaintiff has been harmed, that harm was caused by third

                 parties over whom Mount Vernon had no control or influence and for

                 whom Mount Vernon is not liable, as Mount Vernon exercises no

                 control over wastewater after it leaves Mount Vernon’s facilities.

              21. For the same reason, if Plaintiff has suffered any injuries or damages

                 as alleged, which is specifically denied by Mount Vernon, then those

                 damages were not proximately caused by Mount Vernon.

              22. For the same reason, if Plaintiff has sustained any damages as alleged,

                 which is specifically denied by Mount Vernon, the damages are subject

                 to apportionment and Mount Vernon is not jointly and severally liable

                 to Plaintiff.

              23. If Plaintiff has sustained any damages as alleged, which is specifically

                 denied by Mount Vernon, any alleged interference with Plaintiff’s

                 property was de minimis and therefore is not compensable or


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                 actionable. Plaintiff is not entitled to any relief or recovery from Mount

                 Vernon.

              24.Plaintiff’s claims are barred in whole or in part because the utility of

                 the conduct of which Plaintiff complains—Mount Vernon’s compliant

                 discharges pursuant to a validly issued permit—outweighs any alleged

                 harm to the Plaintiff.

              25. Because Mount Vernon at all times acted in accordance with its

                 discharge permit from the Town of Trion and with all applicable legal

                 requirements, Plaintiff’s claims are barred in whole or in part because

                 Mount Vernon’s conduct was in accordance with the applicable

                 standards of care under all laws, regulations, industry practice, and

                 state-of-the-art knowledge, and the activities of Mount Vernon were

                 reasonable as a matter of law.

              26. Plaintiff’s claims are barred in whole or in part to the extent that they

                 seek to impose liability based on a retroactive application of laws,

                 regulations, standards, or guidelines, in particular guidelines with

                 respect to PFAS developed and applied after the conduct of which

                 Plaintiff complains.




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            27. Plaintiff’s claims are preempted in whole or in part by state and/or

               federal statutes, rules, and regulations, including but not limited to, the

               Clean Water Act and RCRA.

            28. Plaintiff lacks standing to bring this action or one or more of the claims

               asserted against Mount Vernon, because Plaintiff pleads no special

               injury (different from the putative class he defines) as is required to

               maintain a public nuisance claim.

            29. Mount Vernon owed Plaintiff no legal duty to prevent the disposal and

               discharge of PFAS chemicals, as alleged in Plaintiff’s First Amended

               Complaint. Neither statute nor common law recognizes any such duty,

               and Mount Vernon was not responsible for the land application of

               biosolids.

            30. The doctrine of primary jurisdiction bars Plaintiff’s claims, as Georgia

               Department of Environmental Protection (“EPD”) has initiated the

               process of investigating PFAS for purposes of regulation and

               enforcement.

            31. Plaintiff’s claims are barred in whole or in part by waiver, estoppel,

               laches, and/or unclean hands.




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            32. Plaintiff’s claims are barred by collateral estoppel, res judicata, judicial

               estoppel, and/or pending prior actions.

            33. Plaintiff’s claims are barred by the economic loss rule, which requires

               that Plaintiff can only recover in tort economic losses resulting from

               injury to person or property, which is not alleged here.

            34. Plaintiff’s claims are barred in whole or in part by the Public Service

               Doctrine.

            35. Plaintiff fails to plead special damages with the particularity required

               by Fed.R.Civ.P. 9(g).

            36. Plaintiff’s claims are barred in whole or in part by the assumption of

               risk.

            37. To the extent that Plaintiff proves the existence of any alleged

               nuisance, Plaintiff’s claims are barred or limited in whole or in part

               under the doctrines of “coming to the nuisance,” the prior nuisance

               doctrine, and/or the doctrine of consent, as, on information and belief,

               Plaintiff purchased its property well after Mount Vernon began

               discharging in compliance with its discharge permit.

            38.Plaintiff has named Ryan Dejuan Jarrett as a defendant in this action;

               however the Town of Trion used land application of biosolids to real


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               property other than that owned by Mr. Jarrett. During the discovery

               process Mount Vernon will explore the possibility that entities,

               including but not limited to other manufacturers of PFAS or others

               responsible for water discharge or treatment, may be necessary parties

               to this litigation.

            39. Plaintiff’s claims are barred in whole or in part because he has not

               suffered any special harm different from the putative class he defines.

            40. Plaintiff’s claims are barred in whole or in part because his injuries

               were not foreseeable, as they are based on rapidly developing scientific

               study of PFAS that is still underway.

            41. Plaintiff’s claims are barred in whole or in part by his failure to

               properly mitigate damages in response to the alleged impact of PFAS-

               containing biosolids on Plaintiff’s land.

            42. Plaintiff’s claims were caused in whole or in part by Plaintiff’s

               contributory or comparative negligence.

            43. Plaintiff’s request for damages is too speculative or remote, as Plaintiff

               cannot establish that he suffered the damages he alleges as a result of

               any wrongful act by Mount Vernon.




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            44. Plaintiff is not entitled to injunctive relief because he has an adequate

               remedy at law (monetary damages, though Mount Vernon denies

               Plaintiff is entitled to such damages).

            45. Plaintiff is not entitled to injunctive relief because an injunction would

               not serve the public interest, and because he cannot show likelihood of

               success on the merits for the reasons stated herein.

            46. Some or all of the damages alleged in the First Amended Complaint

               constitute an impermissible double recovery.

            47. Mount Vernon asserts all rights of set-off from any amount Plaintiff

               may receive in settlement or judgment from any other entity.

            48. Mount Vernon asserts all rights of set-off from any collateral source

               payments paid or payable to Plaintiff.

            49. Plaintiff’s request for attorney’s fees is barred because Mount Vernon

               has not acted with bad faith or stubborn litigiousness or caused Plaintiff

               unnecessary trouble and expense

            50. Plaintiff’s proposed class fails to meet the requirements for class

               certification as required by Federal Rule of Civil Procedure 23,

               including numerosity, commonality, typicality, and adequacy, as

               Plaintiff cannot establish that its alleged injuries (which are diminution


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               in value damages specific to Plaintiff’s property, are representative of

               the proposed class Plaintiff defines.

            51. Plaintiff’s claims are barred in whole or in part because they cannot be

               tried without violating Mount Vernon’s Due Process rights under the

               Georgia or United States Constitutions and the Seventh Amendment to

               the United States Constitution.

            52. Plaintiff’s claims are barred in whole or in part by the voluntary

               payment doctrine.

            53. Mount Vernon adopts and incorporates herein by reference any

               applicable affirmative defense asserted by any other Defendant in this

               action.

            54. Mount Vernon preserves and incorporates herein by reference all

               defenses asserted in its pre-answer motion to dismiss pursuant to Fed.

               R. Civ. P. 12.

        Mount Vernon does not assert any counterclaims or crossclaims at this time.

Discovery has not started, and investigation continues. It is anticipated that further

discovery, independent investigation, legal research, and analysis may supply

additional facts and add meaning to the known facts, all of which may lead to




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additions to, changes in, and variations from the contents herein. Mount Vernon

expressly reserves its right to amend or supplement its response as appropriate.

      (4) Describe in detail all statutes, codes, regulations, legal principles,
standards and customs or usage, and illustrative case law which defendant
contends are applicable to this action.

RESPONSE: In addition to the authorities cited in Mount Vernon’s Motion to

Dismiss the First Amended Complaint and brief in support [Dkts. No. 87, 87-1]

which Mount Vernon incorporates by reference herein, Mount Vernon anticipates

relying on the following authorities in its defense of the claims asserted in this

litigation: 1) Rule 23 of the Federal Rules of Civil Procedure and federal precedent

interpreting and applying same; 2) O.C.G.A. § 12-5-1, et seq., and Georgia statutory

and caselaw related to water resources; 3) O.C.G.A. § 41-1-1, et seq., and Georgia

statutory and caselaw related to nuisance claims; 4) O.C.G.A. §§ 51-1-1, et seq., 5-

12-1, et seq., and Georgia statutory and caselaw related to negligence and torts; 5)

O.C.G.A. § 5-12-33, et seq., and Georgia statutory and caselaw related to

recoverable damages; 6) the Clean Water Act, 33 U.S.C. § 1251, et. seq., and Federal

and state precedent interpreting and applying same; 7) the Resource Conservation

and Recovery Act, 42 U.S.C. § 6901, et seq., and Federal and state precedent

interpreting and applying same; and 8) the Georgia Water Quality Control Act,

O.C.G.A. § 12-5-20, et seq., and state precedent interpreting and applying same.


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      (5) Provide the name and, if known, the address and telephone number
of each individual likely to have discoverable information that you may use to
support your claims or defenses, unless solely for impeachment, identifying the
subjects of the information. (Attach witness list to Initial Disclosures as
Attachment A.)

RESPONSE: See Attachment A.

       (6) Provide the name of any person who may be used at trial to present
evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all
experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report
satisfying the provisions of that rule. (Attach expert witness list and written
reports to Initial Disclosures as Attachment B.)

RESPONSE: Mount Vernon has not yet made a determination as to any expert to

be used at the trial of this matter, Mount Vernon reserves the right to supplement

this disclosure at such time as any such determination is made.

      (7) Provide a copy of, or description by category and location of, all
documents, data compilations or other electronically stored information, and
tangible things in your possession, custody, or control that you may use to support
your claims or defenses unless solely for impeachment, identifying the subjects of
the information. (Attach document list and descriptions to Initial Disclosures as
Attachment C.)

RESPONSE: See Attachment C.

       (8) In the space provided below, provide a computation of any category of
damages claimed by you. In addition, include a copy of, or describe by category and
location of, the documents or other evidentiary material, not privileged or protected
from disclosure on which such computation is based, including materials bearing on
the nature and extent of injuries suffered, making such documents or evidentiary
material available for inspection and copying under Fed.R.Civ.P. 34. (Attach any
copies and descriptions to Initial Disclosures as Attachment D.)



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RESPONSE: At this time, Mount Vernon has not made any claim for damages in

this matter. Mount Vernon reserves its rights to setoff, recoupment, indemnity, and

contribution and its right to supplement this disclosure as discovery may indicate.

       (9) If Defendant contends that some other person or legal entity is, in whole
or in part, liable to the plaintiff or defendant in this matter, state the full name,
address, and telephone number of such person or entity and describe in detail the
basis of such liability.

RESPONSE: At this time, Mount Vernon has not yet determined all other entities

that may be, in whole or in part, liable to Plaintiff, Summerville, or Jarrett. Mount

Vernon will supplement this response as necessary as additional information is

collected through the discovery process. Subject to and without waiving the

foregoing, Mount Vernon identifies: 1) all other Defendants in this action; 2) any

other person or entity that has discharged PFAS into any wastewater treatment

facility that discharges into the drinking water of the City of Summerville; 3) all

persons or entities responsible for the treatment of wastewater that is later discharged

into the drinking water of the City of Summerville; 4) all persons or entities

responsible for the land application of biosolids disposed of in the Raccoon Creek

watershed; 5) all persons or entities that use or consume products containing PFAS

in and around the Raccoon Creek watershed and/or any water bodies that are

upstream of the drinking water of the City of Summerville; and 5) any manufacturer

of PFAS not already named as a defendant.
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       (10) Attach for inspection and copying as under Fed.R.Civ.P. 34 any
insurance agreement under which any person carrying on an insurance business may
be liable to satisfy part or all of a judgment which may be entered in this action or
to indemnify or reimburse for payments to satisfy the judgment. (Attach copy of
insurance agreement to Initial Disclosures as Attachment E.)

RESPONSE: See Attachment E.




                                         /s/ William M. Droze
                                       WILLIAM M. DROZE
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                                       Attorneys for Defendant Mount Vernon Mills,
                                       Inc.




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                                   ATTACHMENT A

      PERSONS LIKELY TO HAVE DISCOVERABLE INFORMATION2

Ron Beegle (Corporate Director of Environmental Affairs); Mr. Beegle is generally
familiar with the properties of chemicals utilized by Mount Vernon and the
wastewater generated by the plant.

Ned Cochrane (Retired General Counsel – Privilege Applies3); Mr. Cochrane is
generally familiar with the claims and allegations of this litigation.

Bill Sabo (Vice President of Dyeing and Finishing); Mr. Sabo is generally familiar
with the manufacturing processes and their associated chemicals.

Tony Strickland (Director of Piece Dyed Merchandising & Project Development);
Mr. Strickland is generally familiar with product development and associated
chemicals and product marketing.

Gary Williams (Vice President of Administration and Corporate Secretary); Mr.
Williams is generally familiar with corporate policies and procedures and the high-
level circumstances of this litigation.

(All of the individuals affiliated with Mount Vernon should be contacted solely
through counsel for Mount Vernon.)


Representatives of the Georgia Department of Natural Resources, Environmental
Protection Division (EPD). 2 Martin Luther King Jr. Drive SE, Suite 1456, East
Tower, Atlanta, GA 30334; (404) 463-1511. EPD has general familiarity with
permitting decision, regulatory oversight, and the circumstances underlying this
litigation.

        2
       Mount Vernon identifies any witness who may be listed within the Initial
Disclosures of other parties to this litigation as having potential discoverable
information.
        3
            Mr. Cochrane remains retained despite his retirement.


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Andy Melton, Superintendent, Town of Trion Water Pollution Control Plant, P.O.
Box 850, Trion, GA 30753, 706-734-7014. Mr. Melton has general familiarity with
the interactions between Mount Vernon and the Town of Trion relative to
wastewater.




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                                 ATTACHMENT B

             EXPERT WITNESS LIST AND WRITTEN REPORTS

        See statement in Initial Disclosures at Paragraph 6 – Mount Vernon has not

identified any testifying expert witnesses at this time.




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                               ATTACHMENT C

                   DOCUMENTS WHICH SUPPORT
               MOUNT VERNON’S CLAIMS AND DEFENSES

Mount Vernon does not waive any issue as to admissibility of any document listed
herein, nor the applicability of any privilege. Some of the categories of documents
listed herein may be proprietary or confidential and no waiver is intended by virtue
of such listing.

Permits associated with wastewater discharges and regulatory communications
associated therewith.

Records and communications with the Town of Trion related to wastewater
discharges.

Records and communications with manufacturers of products utilized for the
production of textile materials.

Internal records stored on internal company servers associated with the production
and manufacturing process of products made by Mount Vernon Mills (which may
include proprietary materials).

Safety Data Sheets associated with chemicals utilized in the manufacturing process.




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                                ATTACHMENT D

                           DAMAGES DOCUMENTS

        See statement in Initial Disclosures at Paragraph 8 – Mount Vernon has not

made any claim for damages in this matter at this time but reserves its rights as to

setoff, recoupment, indemnity, and contribution.




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                                ATTACHMENT E

                         INSURANCE AGREEMENTS


None.

Mount Vernon continues to investigate whether there are any potentially applicable

insurance policies. If additional, potentially applicable policies are identified and

are within Mount Vernon’s possession, custody, or control, it will make such

policies available for inspection or copying under Federal Rule of Civil

Procedure 34.




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                          CERTIFICATE OF SERVICE

        I   HEREBY     CERTIFY        that   the    within   and   foregoing   INITIAL

DISCLOSURES OF DEFENDANT MOUNT VERNON MILLS was electronically

filed with the Clerk of Court using the CM/ECF system, which automatically serves

notification of such filing to all counsel of record.

        This 23rd day of May, 2022.



                                                   /s/ William M. Droze
                                                   William M. Droze
                                                   Georgia Bar No. 231039
                                                   william.droze@troutman.com

                                                   Attorney for Defendant Mount Vernon
                                                   Mills, Inc.


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